    Aue,16,2019 B:17AM LAB
        Case: 4:20-cv-01030-AGF Doc. #: 111-1 Filed: 05/19/22 Page: 1 ofNo, PageIDP,2
                                                                         9 1731    #: 721
d




                                                    AUTOPSY

           DECEASED: STOUT IE, DANIEL L                          AIItOPSY                       #:   A-te-7e
           AGE:29 Year Old CaucasianMale
           DATE OF BIRTH= l0lt7l8e
           DATE OF DEATII: 6-11-19
           DATE OF AUTOPSY: 5-12-19 @0940
           SITE OF AUTOPSY: St. Francois Cormty Missouri Morgue
                             FarmingtonUfO
           AUTHONZATION: Eastem Reception Diagnostio and Corectional Center
                             BonueTerreMO

           GENERAL EXAMINATION:

                  Ite  body is rcceived in a green body bag ald olothed in awhtte t-shirq which has
           beem cutl offwhito boxer shortsi orunge pmts' which hsve beil ou! and white sock ard
           orange slippen on tbe right foot

                  The body is that of a well developed, well nourishcd-appearing adult Caucasian
           male, 58 iuches hlengflr, ard weightng approximately 150 pounds.

           EIilERNAL EXAMINATION:

                   Rigor morfis is present in tbs extremides, jaw, md seck. Blanchirrg livor rnortis is
           presemr posteriorly. The deceased hfls blnck scalp hair mcasuring. S to lyz iuches in
           le"gtl+ along with a short must che and goatee. There is also e short grorath of froial
           bair. TbE eyes arc closed. Thc conjunctivae are pal€, and withoutpetechiae, Tbe corneae
           ars clear, srd the irides are brcum- The ears, e:rhnal auditory carals, and nose aite
           urrenrarkable. The mouth is close4 and the teeth are nafiral,

                  The neck is without palpable massesr ard the bachea is     h   tbe midline.

                 The chest is symraetrical, and without sca$. On the Upper chest is a tattoo of
           "Thoroughbred'.

                  The aMomen is flat, ryd wlthout palpable otganouegaly, or scars,

                  the   e,:rternal genitalia are normal for an adult male, and the penis is circumcised,

                   The uppo and lower exherrldes ane qmmehical and vuell formed. The Iefr arm
           shows a sleeve tattoo with desig-s, flowersn and a s}illl. There are scatteted healing
           erosions on tbe dght forearm, measuing up to 1 cur., Sirrilar erosions are around the
           right *nee, and on the larcral rlght lowcr leg. On tbe lnfrsral left lower leg is a tattoo of a
           Cardinal on a bat. On the right lateral lower leg is a tattoo of 'osottf}side" and three
           skulls.

           (coNTnIUED)
                                                                                            Exhibit 1
Aug,16,2019 B:i7AM LAB
    Case: 4:20-cv-01030-AGF Doc. #: 111-1 Filed: 05/19/22 Page: 2 ofNo, PageIDP,
                                                                     9 1731    #: 3722




       DECEASED: STOUT III, DAhIIEL L                                       AUTOPSY#; A-1 9-79

       EVIITENCE OT' TUEDICAL TIfiRAPY:

                Defibrillalor pads are on the mid ohest and lat€mlleft chest. An lnta-osseous line
       Is tn the uppe( Ieft shin.

       INTERNAL E]KAMINATION:

       HEAD:
               Ihe s"alp is   incised and rcfincted. There are oo scalp hemorrhages or slilU
       ftaotutes. the omnial vault is opene( afld therc is no epidrral blood, The dura is
       glay-lvhite, tough and pliable, atrd on operring, thcrc is no subdural blood, and the
       cerebmspinal fluid is clem. The brain weighs 1400 grams, The cerebral heinispheres are
       s)prrmcmioal. On sectiouing, there is no evidence of iuftction, tumor, or trauna. The dura
       is sfiipped from tle basilar skull, axdttffie are Do basilar fracffires.

       BODY:
               The body is opened wth a Y-shaped incision, Sowiog a mid-stornal ftacfire, The
       orggns of the thoracio and *dominal cavides to oocupy tleir umul anammio positions.
       There is esoape of free air ftom the abdomen upon inoision Thcre is 150 mI of dart $eexr
       liquid fu ths nbdominal oavity. There is a slight grce,ulellow discoloration to the
       peritoreal wall.

               Ttrere is sigriificant scoliosis of the spine.

       NECKI
               There is no evidence of infectiom,    fimor, ot Eauma. Ttre airumy is patent'

       CARDIOVASCULAR SYSTEM:
               lLe hcart weighs 300 grams. The shape of the h6art is normal, andthe epicardial
       surfrce is smooth Thc major epioardial coronaxy arteries are sectione4 and all are widaly
       patent, and normal in distibution, Ttre heart is sectioned, asd tho myocardium has a
       homogeneous tan-bmvsq appearance, The cardiao valves are thin and delicato. The aofia
       aud its rnajor branches are unremarkable.

       LUNGS:
               The rtght hmg weighs 560 gr'ams, and the left lung weighs a60 grams,      Ite pleual
       surfrces are glistening arrd pink-red. On sectioning, there is mild congestion Thete     artg
       no foci of coruolidatiom or tltrnot. No thorrboemboli afie seen,

       (coNTINtiED)
Aue,16,2019 B:17AM LAB
    Case: 4:20-cv-01030-AGF Doc. #: 111-1 Filed: 05/19/22 Page: 3 ofNo,
                                                                     9 PageID
                                                                        11   P,
                                                                              #: 4723     31


       DECEASED: STOUTtrI, DAI{IEL          L                           AUTOPSY      #: A'te'7e

       IIITERI{AL EIhMINATIONT (Contintted)

       GASTROINTESTINAL SYSTEM I
               The esophagtx, stornach, large bowel, and appemdix arc rrnrernarkable. ltere is
       yellow exudate over thc majority of the serosa of the snrall bowel. h the proximal third
       of the duodenurn is a 2 om, perforated erosi,on- The stomaoh coutains minirnal gxeen
       liquid,

       LTVERI
              The liver weighs 1450 grams, and the capsular surface is sqooth and tafl- brown.
       On seotioning, the parerchyma is rpremarkable.

       SPLEEN:
             The spleen weigls 130 grams, and tho capsular surface is smooth aud prrple-blue.
       On sectioning the pamrc,hyma is uuremat'kable'

       PA.}trCREAS:
                Unremarkable.

       ADRENAL GI"ANDS:
                Unremarkable.

       GENITOURINARY SYSTEM:
               The right kidney weighs 120 grams, and the left kidney weighs 130 grams. The
       capsrles suip with ease, showing smooth cottical surfhccs. On seodonirrg, the cortices a.te
       noi thinned. Tte collecting systemr ureters, and bladder are unremarlrable. Thc bladdes is
       empty.

       (coNTINUED)
Aug,16,2019 B:17AM LAB Doc. #: 111-1 Filed: 05/19/22 Page: 4 ofNo,
   Case: 4:20-cv-01030-AGF                                         1131 P,
                                                                9 PageID #: 724
                                                                            5




      DECEASED: STOUT ltr, DA}.IIEL           L                           AUTOPSY       fi   A-19-79


      1VIICROS COPIC     EXAMINATION:

       BRAIN:
              Sections ofthe brain do hot show inflarnmation, neoplasia" ot vascrrlitis. There ate
       no meningeal intfletntnatory irfilUatas. No acute isglrcntlc charrge iS Seen.

       TIEART:
              Sec{ions of the heart do uot show inflammatory iufiltates, or aoute ischeffdc
       ohangs. The,rc is no significarrt flbrosis'

       LIINGS:
             Tte hrngs are   colrges"ted.


       LTVER:
            The liver is mildly congested,

       KIDNEYSI
              The kidneys are   ntldly   congosted,

       SPLEEN:
            The spleen is mildly congestcd.

       PANCREAS:
            Uruemarkable,

       DUODENUM:
               Sections ofthe duodennu showulceration, withfullthiclmess uecrosis. Therc'are
       serosal ififlanrnf,tory onrdates. No trrmor is seen,

       PERITONEUM:
               Seotions of the pedtoneal wall show thin ueirhophilio   infiltates on tlre surface.

       (coNTTNUED)
Aue,15,2019  B:17AM LAB Doc. #: 111-1 Filed: 05/19/22 Page: 5 ofNo,
    Case: 4:20-cv-01030-AGF                                      9 PageID
                                                                    1731  P,
                                                                          #: 725
                                                                             6




      DECEASED: STOUT III, DANIEL L                                        AUTOPSY#: A-19-79

      SUMMARY OF FINDINGS:

            f,    Peritonitis, Due To Perforated Duodenal Ulcer
                  A. 2 cm. perforoted duodena[ ulcer iu ploximal thhd of duodenum,
                  B. 150 ml. of dark grcen liquid in abdominal cavity, with fiee air in abdomen.
                  C. Smnll bowel and peritoneal senosal inflarnmatory o<udates,
                  D. Pulmonary congestior-
                  E. Asfiepassive congestion ofthe livet, qpleeq atdkidaeys.
            II,   Additiorat F'indings
                  A. Fracfure of nid-sternun, cousistent with tesusoiAtive efrorts.
                  E. Negntive toxicology.
                  C, No evidencc of physicaUsexual abuselassault.
                  D, Scattered $rall heatiag erosiom irrolving right forearm, dght }ilee, and right
                     lateral lowet leg

      CONCI,USION:

           In consideration of the circrmslsnces surrounding ths death, and after examitation
      of the bod1 it is my opinion that Deiel Stout III, a29 yeat old rrale, died as a tesult of
      peritonltis, fire to aperfotated dttodenal ttlcer.

                  nilAf.lNER OF DEATII: Natutal




                                               Pathologist
                                               Mineral Area Pathology LLC
                                               FarmingtonMO
      Enclosu(e:

      RDD/ds/lm
       7   -31-19
     Case: 4:20-cv-01030-AGF
Aug,15,2019  B:174M    LAB   Doc. #: 111-1 Filed: 05/19/22 Page: 6 of          #: l726
                                                                      9 PageIDP,
                                                                    No,                                                     i73i
                                                           NMS Labs                                                   CONFIDENTIRI.

iNMS
 -i ml
                                              ?00 Wdeh Road, Honshem, PA 19044'2208
                                             Phone: (215) 6t7*4900 Fan (215) EA7-2872
                                                       s-mall: nms@nmslabs.oom
                                  Robert A, Mlddleberg, FhD, F-AEFL DABCC-TC, Laboratory Dlreclor



                                                                           Patlent Name        STOUI, DANIEL
Toxicology Report                                                                              A1g-79
                                                                           Patlent lD
Report leeued 0612712019        16:14                                      Chaln               1   91   84270
                                                                           Age Zg Y            DOB          10/1   il1shs
                                                                           Gendor              Male
  To;   10099                                                              Worltorder          11I      E   tl E7E
        Mineral Arsa Pathology
        Attn: Russell Deidilter, MD
        P,O. Box BEB                                                       Page   I of4
        Farmington, MO 63640



  Poeltive Findinga:
                                                                Result                Unlls                  Matdv Source
      Gomllound
                                                                Positive              ngfmL                  001 ' IVC (lnferior Vena
      Nalolone                                                                                               Cava) Blood
                                                                1.0                   rngldL                 003 - Vltreous Fluid
      Creatinine UitreoUs Fluid)
                                                                141                   mmolIL                 003 - Vltreoue Fluid
      Bodiurn (Vitreotrs Fluid)
                                                                6,8                   mmolIL                 00S - Vitreous Flutd
      Potassiurn (Vitreous Fluld)
                                                                114                   mmolIL                 003 - Vltreoue Fluid
      Chloride (Vitrsoua Fluid)
                                                                56.0                  mgldL                  003 'Vitreous Fluid
      Glucose (Vitreoul Fluld)
                                                                30                    mg/dL                  003 - Vitreoue Fluld
      Urea Nitrogon (Vltreous Fluld)


      See Detalled Flndlngs sectlon for additional information


  Toetlng Requested:
      Analytls Code                            Description
      I 91 gFL                                                                             t-Fluld (Forenslc
      BO52B                                      Postrnortem, Expanded, Blood (Forensic)

  Speclmens Reoelved;
                                                                                                                      MlscellansouG
      lD    TtrbelContalner               Volumsl
                                          Mags
                                                        Collectlon
                                                        Date/Tlme
                                                                                  Matrlx Source
                                                                                                                      lnformation

      001   Gray ToP Tube                  ,5m          0B/1212019 10:10            c(l         Vena Cava)
                                                                                  Elood
      002   Gnay Top Tuhe                 8,5 mL        06/1212019 10:10          iVC (lnferlor Vena Cava)
                                                                                  Elood
                                          4.25 mL        0E/1   2lzo19 10:00      Vltreous Fluld
      003   Red ToPTube

      All mmple volumes/weights are approxlmatlons.
      Speclmehs recelved on Otsl21l201g.




                                                                                                                                    NMS v.18.0
            B:17AM LAB
    Case: 4:20-cv-01030-AGF
Aug,15,2019                 Doc. #: 111-1 Filed: 05/19/22 Page: 7 ofNo,
                                                                     9 PageID
                                                                        11   P,
                                                                              #: B727                               31
                                     CONFIDENTIAL Workorder                         1gl 84270
                                                                 Chaln              191 84270
                                                                 Patienr ID         A19'79

                                                                 Page 2 of 4



 Delailed Findings:
                                                                          RPt'
  Analy.sb and     Comments         Result               Unlts            t-irtit     Spactmen   Soqrco             Analy*ls By

  Naloxone                          Posif|e              ng/mL            {.0         001-.Mc(lnferlorVena          LC/TOF-MS
                                                                                      Carra) Elood
                     Fluld)
   Creallnlne (VltrEous             1.0                  mg/dL            0.050       003 - Vitrsous Fluld          Colorlmetry

   Eodium (Vitreout Fluid)          141                  mmol/L           80          003 - Vltreous Fluid          Chemietfl
                                                                                                                    AnalYzer

   Potassiurn (Vilreou€   Fluid)    8-8                  mmol/L           1-0         003 - Vttrsous   Fluid        Chernlstry
                                                                                                                    Analyzer

   Chlorlde (Mtreous   Fluld)       114                  mmol/L           70          003 - VitreoUs   Fluld        chernlstry
                                                                                                                    Anallzer
   Glucose (Vltreous   Fluld)       56.0                 mg/dL            35          003 - Vllreous   Fluld        Chemistry
                                                                                                                    Analyzer

   Urea Nitrogen   (Vitreous        38                   mg/dl            3.0         003 - Vltreous   Fluid         Charnistry
                                                                                                                     furallaer
   Fluid)
                                                                                               poeitivr findlngs of
   Other than tha above findlngs, examlnatlon of the rpeclmen(t) cubmltted dld not revcel atry
   tortcotoglcal slgnlflconce   d   iroaeturea outllned lli   ttre acuompanyingAnalysis S{mrnary'


 Rsfercnce Comments:
   1,    Chloride Mtreoqs Fluld) 'Vilreous Ftuld:
          Norrtml: 105 - 135 mmol/L
   2,    Creatinine MFeous FIuld)'Vltreous Fluld:
           Normal: 0.6 - {.3 mg/dL
   3.    Glucose Mlreous Fluid)'Vltreous Fluld:
           Notmal: <200 mgrdL

           posrtnortem vltreous glucose concenlrallons >200 mgldL are associatEd with hperglycemla'

                                                                                         bofn h vlvo and in vilro, care
          Slnce poe[nortgm viheous gtucoss concentrations dgollng rupHly after death
                                                          sutnry               glucose for up b 30 days has been nohd
          ehoutd be ufen in ih;;tr,ffit.ti"n orru=rtt".'           oruthroue
          by NMS labe wtren specimens am malnblned tozen (-20"C)'
   1.    Naloxone (Narcan@)'lVC (lnftrlorVena Carra) Blood:
                                                                                                            of opioids,
          Natooone ls a narcollc antagonlst usad to countarlhe cenhal nervous syrebm.depre.glgl.fl?:b
                                                                                                       owrdosage'
           lncludlng rcsplmtory Oepffii-. lf i. .tso usod for tre dlagnosls of :uspe_ctel lyi?-opioid
           Na1g)onl is irailaUte ai a 0.4 mglmL solutioh of the hydroahloflde tur parEnteral ldeation.

           Naloupne is also avallable ln comblnatlon wlth buprcnorphine.
                                                                           (Suboxone0) foT.F? ltt"h""1t of oPlold-
           aefJnaenc". 11iJio*-ur'n"ibn    ilivaireUiein uUtite  ot i ryg b'qPrenorphlne wlth 0.5 mg naluo'na or E ms
           uutrenorpnhe wllh 2 mg of naloxone for sublingual    adminlstratlon.

                                                                                              only. lf conflrmatlon testln0
           The rapsrtEd qualltative result for thls subshnca wae based upon a singls ahalyEis
           h requlrcd please aontact the labombry.
    5.   Potassium MFeous Fluld)'Vllreoue Fluld:
           Normal: <15 mmolil-
           Quan[hWe reaulb for Poh€€ium witl he afftcted H
           performod on $ay hp Ubessine these collecrtlon
           fubes conhin Potasslum oxalale.




                                                                                                                          NMS v.18.0
                                                                    No, 1131                                                       P,9
     Case: 4:20-cv-01030-AGF
Aue,16,2019  B:17AM    LAB   Doc. #: 111-1 Filed: 05/19/22 Page: 8 of 9 PageID #: 728
                                        CONFIDENTIAL              Worltorder          1s184270
                                                                                      191 A4270

TNMS
F rTEj_:__l
                                                                  Ghaln
                                                                  Patlent lD          A19-79

                                                                  Page 3 of 4


 Refurence Commentc:
  6.    Sodlum (Mtreous Fluld)'Vltreous Fluld:
          Normal: 135 - 150 mmol/L
          QuantiHivo rosulh forsodium wlll be afroled II
          pL*orm* oh glty top tubee slnce frrese collec[on
          tubes contaln sodlum fluorlde.
  7.    Uraa Nihogen (Mtreolrs Fluld) - Vlheous Fluld:
          Normsl:E-20mg/dL
                                                                                 spacimene wlll be dlsoarded one           (1) y€ar
  Unle$ altemats anangsmenE ars made by you, Ere rcmalnder of the submittod
                                                                  fiw (5) yean from the date tte analvses ltrers
  fiom the date of th'B r.p-orilliaiJiJ*t"lifiU i,in be dlaoerded
  performed.
                                                                                Workoder 1g1*27}was elactronlcally
                                                                                algned on OBl27 12010 I 5:03 bY:
                                                                                 avfry'
                                                                                 W,7
                                                                                Edk Flall' B.A.
                                                                                Certlfulng Sdentigt


 Analysis Summary and Reportlng Llmlta;
                                                                      tsst, ttts compounde listEd wEre tnduded ln ure scopa' The
 All of illg following teEts were performed for this case, For eacfr                                  thet wll! be reporbd as baing
 Reportng [Jmit lisbd for aqc! gompound rpr"""ne ine lorlest
                                                                     concsnfrfion?fiii
 positive. tf ttre compounJu ir=iJJ as tlme    bsbd;;ift       ,,;t;E;..t    4uo-*
                                                                                  *         "'mPound
                                                                                        Ceporun'g Llmlt' Plsaso rcrfer b lhe Posltlve
                        'tr" rei,Jrt i"i ttose compounds that wbrE identfied   an belns pIeBenL
 Fi,iiil; *""iion   "t
                                          panel (Vitrcous), Fluid (Forenslc) - Mtrcous Fluld
   Acorte 919FL . Electrolybs and Glucose
           1



       .Analyele by Chsmittry Analyzer for:

         Compound                                Rot. Llnlt                Compound                                 RPt' Limil

                                                 70 mmol/L                 sodlum (Vitreous Fluid)                  B0 mmol/L
         Chlorlde (Vltreouo Fluld)
                                                 35 mg/dl                  Urea Nitrogan (Vitreous Flultl)          3'0 rngldl
         Glucose (Vltreous Fluid)
         Potssslurn (Vitreous Fluitl)            1.0 rnrnot/L

       -Analysls bY Colorlmetry (C) for:
                                                                                                                    RFt. Llmlt
         Gomnound                                Rpt. Lirnit               Sompottnrl

        Creatinine (Vitreous   Fluld)    0'050 mg/ttl
                                                             (lnfadof Vena Cava) Blood
    Acode 80S2B - PoeHErtem. Expanded, Blood (Forenslc) - MC
                                                             for:
       4nalysls by Enzyme-Llnked lmmunosorbont Assay {ELISA)
                                                                            Compound                                Rpt. Limit
          CoUnporrnrl                            Rgt- Limit
                                                                            Gabapentin                              5.0 rncglmL
          Barblturates                           0.040 rncg/rnl
                                                                            Sallcylates                             12O mcg/rnL
          Cannablnolds                           10 ng/ml

                                                 (GC) for:
       -Anatycis by Headspaqe Gas Chnomatography
                                                                                                                     RIrl. Llmlt
                                                  Rpt. Llmlt                ComnounO
          CornFound
                                                                                                                     6.0 rng/dL
                                                  5.0 mg/dL                 lsopropanol
          Acetone                                                                                                    6.0 mg/dL
                                                  10 rng/dL                 Methanol
          Ethanol



                                                                                                                                   NMS v.18.0
             B:1BAM LAB
     Case: 4:20-cv-01030-AGF
Aue,15,2019                  Doc. #: 111-1 Filed: 05/19/22 Page: 9 of     PageIDP,
                                                                    No,9 11      #: 10
                                                                                     729                              31
                                    CONFIDENTIAL Workorder                          191 84270
                                                                 Ghaln
     NMS                                                         Patlent ID
                                                                                    191W27O
                                                                                    A1g-79

                                                                 Page   4al4


Analyeis Summaty and Reporling Lirnite:



    rAnalysis by Hish Psrformance Liquid Chromahsraphy/fima- of Flight-Mass                       (LC/TOF-MS) for: The
                                                                                   Fq"*o*19
   fiii*irnii r"L   eEneraiiGi iii.e"'una olis"iiiffiubei   ln lhb screln. The ddtectlffi of any spscific an{Y& ia
    conceni-rattoniepenAent. Nob,hot    allknorrn analytes ln eaclr apacllled mmpgqld dass arg included' Some
    ipecfftc snatytes ouhide theso classes arc also Infruded. For a rletailed list of alt analyEs and rcportlng llmlis,
    plsase conkact NMS Lab6.
    ffiph;ta;i"€i,    nnii.o-n ulranb. Antideprassant€, Anlhiehmine=, Antlpeydro{cAgenls, Benzodlezeplnes,.ONs
    siiffila;C;   c.;il;]      iiidraidllt"=, ililrrctnogens, iypnoseoa[lrree,'Flyposlycemlce , Muede Rslaxa]rls, Non"
    Steroldal Antl-lnflammatoryAgenh, Oplates and Oplolds.




                                                                                                                           NMS v.18.0
